                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

FlavaWorks Entertainment, Inc.,              )
Blatino Media, Inc.,                         )
                     Plaintiff,              )      Case No. : 1:24-cv-09725
                                             )
       v.                                    )
                                             )      JURY TRIAL DEMANDED
Joel Lewitzky,                               )
John Doe 1 (username augire2)                )
John Doe 2 (username batsu454)               )
John Doe 3 (username blackbike20)            )
John Doe 4 (username Cards1uk)               )
John Doe 5 (username Chaman)                 )
John Doe 6 (username Clorino404)             )
John Doe 7 (username Daledale)               )
John Doe 8 (username Daleorama)              )
John Doe 9 (username Dave858)                )
John Doe 10 (username ekospirit)             )
John Doe 11 (username gzh004)                )
John Doe 12 (username Hubrys)                )
John Doe 13 (username Joewija)               )
John Doe 14 (username Lilraverprep)          )
John Doe 15 (username Luvpecs)               )
John Doe 17 (username Paulrc)                )
John Doe 18 (username Slchung)               )
John Doe 19 (username Thomblack)             )
John Doe 20 (username Trashcat)              )
John Doe 21 (username Yatjug)                )
John Doe 22 (username Zanefan)               )
John Doe 23 (username xaoslao)               )
       Defendants.                           )

               AMENDED MOTION FOR LEAVE TO TAKE DISCOVERY
                     PRIOR TO RULE 26(f) CONFERENCE

        Plaintiff, by and through undersigned counsel, pursuant to the Federal Rules of Civil
Procedure, respectfully moves this Court for leave to take limited discovery prior to the Rule
26(f) conference for the reasons stated in its accompanying Memorandum and Declaration filed
concurrently herewith. The Mandatory Initial Discovery Pilot Project supersedes Rule
26(a)(l) and does not affect the grounds for or relief sought in this Motion. Plaintiff requests
a hearing on this matter, if necessary, in accordance with the accompanying notice.
        In particular, Plaintiff seeks the issuance of subpoenas under Rule 45 to email service
providers: Google LLC, Microsoft Corporation, and Yahoo! Inc, to obtain information sufficient to
identify the Doe Defendants by name and current address.

                                                          Respectfully submitted,
Dated: December 6, 2024                                   FlavaWorks Entertainment, Inc.
                                                          Blatino Media, Inc.

                                                          By: s/ Hameed Odunewu

Hameed Odunewu (Bar No. 6346462)
FlavaWorks Entertainment, Inc.
Blatino Media, Inc.
2705 West Fulton St
Chicago, IL 60612-2003
(240) 918-2785 Telephone
Hameed@flavaworks.com
Attorney for Plaintiff
FlavaWorks Entertainment, Inc. and
Blatino Media, Inc.
                                   CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Motion for Leave to Take Discovery Prior to Rule 26(f) was filed electronically with the Clerk of
the Court and served on all counsel of record and interested parties via the CM/ECF system on
November 8, 2024.



                                             s/Hameed Odunewu
